USDC IN/ND case 1:15-cr-00001-TLS-SLC                 document 187     filed 05/12/16     page 1 of 2


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                         )
                                                  )
                v.                                )           No. 1:15-cr-00001-TLS-SLC
                                                  )
 CESAR ROSALES also known as                      )
 Cesar Raul Rosales Villacenor                    )

                           FINDINGS AND RECOMMENDATION
                              OF THE MAGISTRATE JUDGE
                               UPON A PLEA OF GUILTY

 TO:    THE HONORABLE THERESA L. SPRINGMANN, JUDGE,
        UNITED STATES DISTRICT COURT

        Upon Defendant’s request to enter a plea of guilty pursuant to Rule 11 of the Federal

 Rules of Criminal Procedure, this matter came on for hearing before U.S. Magistrate Judge

 Susan Collins, on May 12, 2016, with the written consents of Defendant, counsel for

 Defendant, and counsel for the United States of America.

        The hearing on Defendant’s plea of guilty was in full compliance with Rule 11, Federal

 Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

        In consideration of that hearing and the statements made by Defendant under oath on

 the record and in the presence of counsel, the remarks of the Assistant United States Attorney

 and of counsel for Defendant,

        I FIND as follows:

        (1) that Defendant understands the nature of the charge against him to which the plea is

 offered;

        (2) that Defendant understands his right to trial by jury, to persist in his plea of not

 guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses,
USDC IN/ND case 1:15-cr-00001-TLS-SLC              document 187        filed 05/12/16   page 2 of 2


 and his right against compelled self-incrimination;

        (3) that Defendant understands what the maximum possible sentence is, including the

 effect of the supervised release term, and Defendant understands that the Sentencing Guidelines

 apply and that the Court may depart from those guidelines under some circumstances;

        (4) that the plea of guilty by Defendant has been knowingly and voluntarily made and is

 not the result of force or threats or of promises apart from the plea agreement between the

 parties;

        (5) that Defendant is competent to plead guilty;

        (6) that Defendant understands that his answers may later be used against him in a

 prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant’s plea; and further,

        I RECOMMEND that the Court accept Defendant’s plea of guilty and that Defendant

 be adjudged guilty of the offense charged in Count 2 of the eight-count Indictment, and have

 sentence imposed. A Presentence Report has been ordered. Should this Findings and

 Recommendation be accepted and Defendant adjudged guilty, sentencing will be scheduled

 before Judge Theresa L. Springmann by separate order and notice. Objections to the Findings

 and Recommendation are waived unless filed and served within fourteen (14) days. 28 U.S.C.

 § 636(b)(1)(B).

        DATED this 12th day of May 2016.

                                                       /s/ Susan Collins
                                                       Susan Collins,
                                                       United States Magistrate Judge




                                                 2
